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             Exhibit A: Partial eBay Chats to/From “asianjackson”
 Sender ID         Recipient ID   Date/Time CDT                          Message

                                                   Hi There, Do you still have those vaccination
                                                   cards? Need 4 of them as I don't see them on
 heynow60          asianjackson   4/3/21 8:32 AM   Ebay Thanks [name, mailing address redacted]
                                                   On 3/24/2021 11:10 PM, eBay - asianjackson
                                                   wrote:

asianjackson        heynow60      4/3/21 8:45 AM   Hello, yes I do. <whatsyourpaypalemail>

 heynow60          asianjackson   4/4/21 6:22 PM   [Email address redacted.]



                                                   I purchased a Covid vaccine card from you. Is
westernkenpo       asianjackson   4/5/21 6:27 PM   there any way to buy more? Please let me
                                                   know. [Name and email address redacted.]

                                                   Hi I bought a vaccine card from you last week.
westernkenpo       asianjackson   4/5/21 8:50 PM   Do you still have these. If possible can I order
                                                   more? Thanks Mark

                                                   Hello, thank you for the support! Yes I do
asianjackson      westernkenpo    4/6/21 1:23 AM   have some more, how many would u like to
                                                   have?

westernkenpo       asianjackson   4/6/21 2:39 AM   4 if possible. How do I pay? [Name redacted.]

asianjackson      westernkenpo    4/6/21 3:40 AM   <whatisyourpaypalemail>

westernkenpo       asianjackson   4/6/21 4:12 AM   Ebay not letting me send an email address.

westernkenpo       asianjackson   4/6/21 4:13 AM   [Email redacted.]

westernkenpo       asianjackson   4/6/21 4:13 AM   Yah oo

                                                   You can write it like:
asianjackson      westernkenpo    4/6/21 4:49 AM
                                                   <exampleatgmaildotcom>

                                                   So just making sure, yours is: [Email address
asianjackson      westernkenpo    4/6/21 4:50 AM
                                                   redacted]?

westernkenpo       asianjackson   4/6/21 4:53 AM   [Email redacted] at

westernkenpo       asianjackson   4/6/21 4:55 AM   yes

                                                   Got ya, and how many more would u like to
asianjackson      westernkenpo    4/6/21 5:37 AM
                                                   have?

westernkenpo       asianjackson   4/6/21 6:45 AM   5 more would be great. Thanks

                                                   Please let me know if you have problems
westernkenpo       asianjackson   4/6/21 9:07 AM
                                                   sending a PayPal bill. Thanks [name redacted.]

asianjackson      westernkenpo    4/6/21 9:38 AM   Thank you. Requested
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    Sender ID           Recipient ID        Date/Time CDT                         Message

 class1inventoryllc     asianjackson        4/7/21 1:44 PM    They authentic?

   asianjackson       class1inventoryllc    4/7/21 1:44 PM    100% authentic

                                                              Ok can you just list them some so I can
 class1inventoryllc     asianjackson        4/7/21 1:46 PM
                                                              guarantee mine? Looking for 3-4

   asianjackson       class1inventoryllc    4/7/21 1:47 PM    <whatsyourpaypalemail>

 class1inventoryllc     asianjackson        4/7/21 1:48 PM    [Email redacted.]

   asianjackson       class1inventoryllc    4/7/21 1:49 PM    <youcanwriteitlikethis>

class1inventoryllc      asianjackson        4/7/21 1:51 PM    I sent it to you

   asianjackson       class1inventoryllc    4/7/21 1:54 PM    Can you write it like <exampleatgmaildotcom>

 class1inventoryllc     asianjackson        4/7/21 1:55 PM    Hello interested in this product

   asianjackson       class1inventoryllc    4/7/21 1:56 PM    3 or 4?

 class1inventoryllc     asianjackson        4/7/21 1:57 PM    4



     bflcwbk6           asianjackson        4/8/21 6:45 AM    Got it today. Do you have anymore for sale?

                                                              i do have some more. I will list them either
   asianjackson           bflcwbk6          4/8/21 6:53 AM    tonight or tomorrow night depends on how
                                                              busy i am

     bflcwbk6           asianjackson        4/8/21 6:55 AM    Ok. Iâ€™d like to get at least 8 more.

   asianjackson           bflcwbk6          4/8/21 7:01 AM    <whatisyourpaypalemail>

     bflcwbk6           asianjackson        4/8/21 7:04 AM    [Email redacted.]

   asianjackson           bflcwbk6          4/8/21 7:51 AM    So 8 more?

     bflcwbk6           asianjackson        4/8/21 7:53 AM    Yes

                                                              Hi, what is the size of this novelty card? what
whats_in_my_attic       asianjackson       4/13/21 1:04 PM
                                                              type of paper is it printed on? Thx.

                                                              To be honest, I never actually measured it. I
   asianjackson       whats_in_my_attic    4/13/21 1:19 PM    can if you wanted me to. But I can guarantee
                                                              you itâ€™s authentic.



                                                              OMG thank you! I saw that they pulled your
   cindy88bees          asianjackson       4/14/21 10:51 AM
                                                              listing but am happy I got in under the wire.

                                                              Yea... that happens a lot. Iâ€™m used to it
   asianjackson         cindy88bees        4/14/21 11:53 AM   already, lol. Your stuff will be send out
                                                              tomorrow morning.
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 Sender ID       Recipient ID    Date/Time CDT                         Message

                                                   are they reproductions or genuine cards?
iceseller92      asianjackson   4/14/21 9:07 PM
                                                   about 4 or 5

asianjackson      iceseller92   4/14/21 9:16 PM    100% genuine

iceseller92      asianjackson   4/14/21 9:16 PM    how much for 1 and then how much for 4/5

asianjackson      iceseller92   4/14/21 9:17 PM    10.99 each

iceseller92      asianjackson   4/14/21 9:18 PM    Ill take 1 for now. Too see what it looks like

                                                   Completely understood
asianjackson      iceseller92   4/14/21 9:19 PM
                                                   <whatsyourpaypalemail>

                                                   it wont let me send it..Can you list it and I will
iceseller92      asianjackson   4/14/21 9:28 PM
                                                   buy it asap?

asianjackson      iceseller92   4/14/21 9:28 PM    Like this <exampleatgmaildotcom>

iceseller92      asianjackson   4/14/21 9:30 PM    [Email redacted.]

asianjackson      iceseller92   4/14/21 9:38 PM    Got it. I will process it and send it out shortly

iceseller92      asianjackson   4/14/21 9:38 PM    just sent info to <tzhao07>

                                                   Yep, I saw it. Thanks for the support. U
asianjackson      iceseller92   4/14/21 9:39 PM
                                                   wonâ€™t be disappointed.

                                                   Plan to stay connected on there. thanks so
iceseller92      asianjackson   4/14/21 9:40 PM
                                                   much

iceseller92      asianjackson   4/14/21 9:41 PM    will you have tracking info?

                                                   Since itâ€™s only 1, I donâ€™t do tracking just
asianjackson      iceseller92   4/15/21 12:05 AM   to keep the cost low. I can have a picture proof
                                                   I send it out tho

iceseller92      asianjackson   4/15/21 12:25 AM   yes please
